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 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
11 In the Disciplinary Matter of            )       ORDER OF
                                            )       DISBARMENT/SUSPENSION
12                                          )
   ATTORNEY DISCIPLINARY                    )
13 ACTIONS                                  )
                                            )
14                                          )
15              The Court has not received a response to its Order to Show Cause dated
16 June 25, 2009, from any attorney listed in Attachment “A” to this Order, for the
17 imposition of suspension or disbarment from the Bar of this Court as a result of
18 suspension or disbarment from the Supreme Court of California, resignation with
19 charges pending accepted by the Supreme Court of California, or enrollment as an
20 involuntary inactive member of the State Bar of California with cases pending in this
21 Court. Written responses to the Order to Show Cause were due thirty (30) days from
22 the date of the Order to Show Cause. Therefore, IT IS ORDERED, that the attorneys
23 listed in Attachment “A” to this Order are suspended or disbarred from the practice
24 of law in this Court pursuant to Rules 83-3.1.9 and 83-3.2 of the Local Rules for the
25 Central District of California.
26              IT IS FURTHER ORDERED that any attorney listed in Attachment “A”
27 to this Order who has been suspended or disbarred from the Bar of this Court will be
28 reinstated upon proof of his or her reinstatement as an active member in good

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 1 standing with the State Bar of California.
 2              An attorney registered to use the Court’s Electronic Case Filing System
 3 (ECF) who is suspended or disbarred by this Court will not have access to file
 4 documents electronically until the attorney has been reinstated by the State Bar of
 5 California and reinstated to the Bar of this Court.
 6              This Order is being served pursuant to Federal Rule of Civil Procedure
 7 5 to the current addresses of the attorneys listed in Attachment “A” as on file with
 8 the State Bar of California.
 9
10              DATE:       August 4, 2009
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14                                                      Audrey B. Collins
                                                 Chief United States District Judge
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 1                                 Attachment A
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 3 Disbarment
 4 1. Armand Joseph Pasano, #145928, MC-09-177 ABC
 5 2. Kenneth Brian Rodman, #72412, MC-09-183 ABC
 6 Suspension
 7 1. Aftab Alam Malik, #171926, MC-09-181 ABC
 8 2. Thomas Howard Ravatt, #67228, MC-09-178 ABC
 9 3. John Royall Read, III, #51388, MC-09-179 ABC
10 4. Joseph Edward Rowland, #147636, MC-09-182 ABC
11 5. Robert Wayne Wiley, #64883, MC-09-180 ABC
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